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                               UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF CALIF -~ r, :H<K u;; DIS I Hi Cl GOU HT
                                                                       SOUTHcHN DISTHIGl OF CALIH)RNIA
                                                                       BY                      ~1-   Pli ry
UNITED STATES OF AMERICA,
                                                         Case No. '21 CR2173GPC

                                       Plaintiff,
                       vs.
                                                         JUDGMENT OF DISMISSAL

    Josue Guadalupe Valdez-Romero (1)

                                    Defendant.


IT APPEARING that the defendant is now entitled to be discharged for the reason that:

      an indictment has been filed in another case against the defendant and the Court has
      granted the motion of the Government for dismissal of this case, without prejudice; or

•     the Court has dismissed the case for unnecessary delay; or

•     the Court has granted the m·otion of the Government for dismissal, without prejudice; or

•     the Court has granted the motion of the defendant for a judgment of acquittal; or

•     a jury has been waived, and the Court has found the defendant not guilty; or

•     the jury has returned its verdict, finding the defendant not guilty;

      of the offense(s) as charged in the Indictment/Information:
      21 :841(a)(l) - Possession with Intent to Distribute a Controlled Substance




Dated:       i'   lo b-1                            Hon. Kare
                                                    United States Magistrate Judge
